Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 08-22278-CIV-GOLD/McALILEY

  KIRK DAVID,
  and all others similarly situated,

                 Plaintiff,
  vs.

  AMERICAN SUZUKI MOTOR CORP.,

                Defendant.                      /

        AMENDED ORDER REQUIRING COMPLIANCE WITH LOCAL RULE 16.1
              OF THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF FLORIDA
                  [Amends to reflect requirements for class action cases]

         THE COURT, on its own motion, ORDERS AND ADJUDGES:

         1. Unless otherwise exempted under S.D.Fla.L.R. 16.1(B)(4) of the United States District

  Court and this order, all parties are required to meet and comply with S.D. Fla.L.R. 16.1(B) and this

  Order within twenty (20) days after the filing of an answer [or the filing of a motion to dismiss] by

  the last answering defendant(s); or in a case removed from state court, within thirty (30) days from

  the date this Order is docketed. No extensions will be granted absent extraordinary good cause

  shown. No extensions will be granted absent extraordinary good cause shown.

         2. Pursuant to S.D.Fla.L.R. 16.1(B)(2)(a) through (k), the parties shall prepare and file with

  the Court a Joint Conference Report.

         3. In addition to matters required to be included in the updated Conference Report, the parties

  shall provide the following additional information:

                 a. Inclusion of dates certain in a completed version of Appendix I as attached to

  this Order.
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 2 of 11




                 b. A designation of the case management track under which the case will be

  processed, as defined in S.D.Fla.L.R. 16.1(A)(2), based upon the projected time needed for trial and

  a proposed trial date.

                 c. A statement of whether the case is to be trial by jury or non-jury.

                 d. A plain statement of the nature of the claim and any counter-claim, cross-claim,

  or third-party claim, including the amount of damages claimed, a preliminary statement of how such

  damages were calculated and any other relief sought.

                 e. A brief summary of facts which are uncontested or which can be stipulated to

  without discovery.

                 f. A recital of the issues as presently known.

                 g. A list and summary of any pending motions.

                 h. The progress of discovery in the case, if any, to date, and any pending or

  anticipated discovery problems which require early court resolution.

                 i. Any unique legal or factual aspects of the case requiring special consideration by

  the Court including jurisdictional issues or questions concerning lack of subject matters jurisdiction.

                 j. Any potential need for references to a special master or magistrate.

                 k. Any particular need for an early case management conference to be held by the

  Court.

                 l. Status of any potential settlement.

                 m. Specify whether, and the manner in which, the Manual on Complex Litigation,

  Third Edition, would be of assistance in the cause.




                                                    2
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 3 of 11




                 n. If counsel have conferred or not regarding whether the “disclosure requirement”

  imposed by Fed.R.Civ.P.(26)(a)(1-4), should apply to this case by court order or by “written

  stipulation of all affected parties” and the result of such conference, if any.

                 o. Such other matters as may aid the Court in the fair and expeditious administration

  and disposition of the case.

         4. Any failure to abide by the required rules and this Order shall subject the party or counsel

  to appropriate penalties, including but not limited to the dismissal of the cause, or the striking

  of defenses and entry of judgment, and/or the imposition of monetary or other sanctions as

  authorities by Fed.R.Civ.P. 16(f).

          5. Following the submission of the Conference Report, the Court may require a status

  conference prior to adopting the Conference Report by order. A proposed Scheduling Order is not

  required.

          6. Counsel for Plaintiff, or Plaintiff if proceeding pro se, shall be responsible for giving

  notice of the requirements of this subsection to each defendant or counsel for each defendant as soon

  as possible after such defendant’s first appearance.

         ORDERED IN CHAMBERS this 22nd day of September, 2008.




                                                 _________________________________________
                                                 ALAN S. GOLD
                                                 UNITED STATES DISTRICT JUDGE

  Copies furnished:
  All counsel of record
  U.S. Magistrate Judge Chris McAliley




                                                     3
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 4 of 11




                         Appendix I

            The Joint Scheduling Report is also available on the
     Court’s website @ www.flsd.uscourts.gov in WordPerfect Format.
               [Please refer to Judge’s Information section]




                                     App-1
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 5 of 11




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 08-22278-CIV-GOLD/McALILEY

  KIRK DAVID,
  and all others similarly situated,

                 Plaintiff,
  vs.

  AMERICAN SUZUKI MOTOR CORP.,

                Defendant.                     /

                                       Joint Conference Report

         Pursuant to the Court’s Order Requiring Compliance with Local Rule 16.1, the parties have

  agreed to the following deadlines:

                 DATE                                          ACTION

   By                                   The parties will exchange the information required by
                                        Fed.R.Civ.P. 26(a)(1).
   By                                   Plaintiff’s counsel, or any other attorney agreed upon by all
                                        parties, shall file a Designation of Mediator. If there is no
                                        agreement on a mediator, the parties shall notify the Clerk
                                        in writing and the Clerk shall designate a mediator.

   By                                   The parties shall conduct a discovery conference as required
                                        by Fed.R.Civ.P 26(f) (as amended December 1, 2006).
                                        Where applicable, the discussion shall include the
                                        discovery of electronically stored information as set
                                        forth in Fed.R.Civ.P 26(f) (as amended December 1,
                                        2006).




                                                App-2
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 6 of 11




   By                          The parties shall submit a proposed discovery plan as
                               required by Fed.R.Civ.P 26(f) (as amended December 1,
                               2006). The discovery plan shall be included in the parties’
                               response to this Order. In the event a discovery plan
                               cannot be agreed to in good faith, the parties shall state
                               which agreements have ben reached, and which
                               disagreements remain to be resolved. Where there is
                               disagreement, the parties shall state their respective
                               positions. Thereafter, the Court shall refer the matter to
                               the Magistrate Judge for hearing and resolution.
   By                          The motion for class certification shall be submitted.
   By                          Completion of class-related fact discovery.
   By                          Deadline for appointment of class-related experts and
                               delivery of class-related expert reports.
   By                          Completion of class-related expert discovery.
   By                          Plaintiffs may file and serve a supplemental memorandum
                               re: class certification.
   By                          Defendants shall file and serve their briefs in opposition to
                               the motion for class certification.
   By                          Plaintiffs shall file and serve their reply to Defendants’
                               opposition to the motion for class certification.
   By                          Any additional non-dispositive pretrial motions (including
                               motions pursuant to Fed.R.Civ.P. 14, 15, 18 through 22, and
                               42 motions) shall be filed. Any motion to amend or
                               supplement the pleadings filed pursuant to Fed.R.Civ.P.
                               15(a) or 15(d) shall comport with S.D.Fla.L.R. 15.1 and
                               shall be accompanied by the proposed amended or
                               supplemental pleading and a proposed order as required.
   By                          Plaintiff shall furnish opposing counsel with a written list
                               containing the names and addresses of all remaining expert
                               witnesses intended to be called at trial and only those expert
                               witnesses listed shall be permitted to testify.
   By                          Defendant shall furnish opposing counsel with a written list
                               containing the names and addresses of all remaining expert
                               witnesses intended to be called at trial and only those expert
                               witnesses listed shall be permitted to testify.



                                       App-3
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 7 of 11




   By                          All remaining expert reports and summaries are to be
                               exchanged per S.D.Fla.L.R. 16.1(K). This date shall
                               supercede any other date in local rule 16.1(K).
   By                          All remaining expert discovery shall be completed.
   By                          All remaining non-expert discovery shall be completed.
   By                          All dispositive pretrial motions and memoranda of law must
                               be filed. If any party moves to strike an expert affidavit
                               filed in support of a motion for summary judgment [for
                               reasons stated in Daubert v. Merrill Dow Pharmaceuticals,
                               Inc, 509 U.S. 579, 125 L.Ed. 2d 469, 113 S.Ct. 2786 (1993)
                               and Kumho Tire Company, Ltd. v. Carmichael, 525 U.S.
                               137, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999)], the motion
                               to strike shall be filed with that party’s responsive
                               memorandum.
   By                          Mediation shall be completed. Mediation shall be
                               completed. [Ninety days prior to the mediation date,
                               counsel for Plaintiff shall file a notice with the Court
                               indicating the name of the Mediator as well as the place,
                               date and time mediation will take place].
   By                          Pretrial Stipulation and Motions in Limine. The joint
                               pretrial stipulation shall be filed pursuant to S.D.Fla.L.R.
                               16.1(E). In conjunction with the Joint Pretrial Stipulation,
                               the parties shall file their motions in limine.
   On                          Proposed pretrial conference date.
   On                          Proposed trial date.




                                       App-4
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 8 of 11




                               Appendix II

            The Consent to Jurisdiction is also available on the
     Court’s website @ www.flsd.uscourts.gov in WordPerfect Format.
               [Please refer to Judge’s Information section]




                                     App-5
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 9 of 11




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 08-22278-CIV-GOLD/McALILEY

  KIRK DAVID,
  and all others similarly situated,

                 Plaintiff,
  vs.

  AMERICAN SUZUKI MOTOR CORP.,

                Defendant.                      /

                    CONSENT TO JURISDICTION BY A UNITED STATES
                     MAGISTRATE JUDGE FOR FINAL DISPOSITION

          In accordance with the provisions of Title 28, United States Code, Section 636(c), the
  undersigned party to the above-captioned civil matter, by and through undersigned counsel, hereby
  voluntarily consents to have a United States Magistrate Judge decide the following matters and issue
  a final order or judgment with respect thereto:

  1.     Discovery Motions                              Yes ___        No ___
  2.     Motions for Costs                              Yes ___        No ___
  3.     Motions for Attorney’s Fees                    Yes ___        No ___
  4.     Motions for Sanctions                          Yes ___        No ___
  5.     Motions to Dismiss                             Yes ___        No ___
  6.     Motions for Summary Judgment                   Yes ___        No ___
  7.     Jury or Non-Jury Trial on Merits               Yes ___        No ___
  8.     Other _____________________                    Yes ___        No ___


  _________                     _____________________________________________________
  (date)                        (Signature)
                                ______________________________________________________
                                (Printed name of Attorney)

                                Attorney for ___________________________________________


  Copies furnished to:
  All counsel of record
  U.S. Magistrate Judge Chris McAliley



                                                App-6
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 10 of 11




  ***AMENDED INSTRUCTIONS, PLEASE READ CAREFULLY***

                        INSTRUCTIONS FOR SUMMARY JUDGMENT BRIEFS

  The parties shall comply with the following instructions when filing summary judgment briefs:

  1. When filing a Motion for Summary Judgment, the moving party shall contemporaneously file a Local Rule
  7.5 Statement of Undisputed Material Facts delineating by number each material fact, supported with
  citations to the record. Failure to do so may result in dismissal of the Motion for Summary Judgment
  without prejudice.

  2. The opposing party shall file contemporaneously with its Opposition a Response to the Statement of
  Undisputed Material Facts which shall respond, by corresponding number, to each of the moving party's
  statements of fact. The opposing party shall state, based on citations to the record, whether each fact is
  disputed or undisputed. If the fact is disputed, the opposing party shall state why the dispute is a material
  one. If the opposing party wishes to state additional facts not included in the moving party's Statement of
  Undisputed Material Facts, those facts shall be delineated by number and supported by citations. Pursuant
  to Local Rule 7.5 and Eleventh Circuit case law, a failure to respond to each of the moving party’s
  undisputed material facts may lead the Court to accept those material facts as undisputed. See United
  States v. One Piece of Real Property Located at 5800 SW 74th Avenue, 363 F.3d 1099, 1103 n.6 (11th Cir.
  2004) (stating that a court , after reviewing the record and concluding that there is no genuine issue of
  material fact, may consider summary judgment movant’s facts admitted if the facts are not controverted by
  the nonmoving party).

  3. If the moving party chooses to reply to the nonmoving parties' statement of disputed facts, the reply shall,
  by corresponding number, respond to each of the opposing party's facts, stating whether each fact is disputed
  and/or material.

  Pursuant to the Amendments to the Local Rules, effective January 17, 2008, the Statement of Material Facts
  submitted either in support of or in opposition to a motion for summary judgment shall:

          4.       Consist of separately numbered paragraphs.

          Statements of material facts submitted in opposition to a motion for summary judgment shall
          correspond with the order and with the paragraph numbering scheme used by the movant,
          but need not repeat the text of the movant’s paragraphs. Additional facts which the party
          opposing summary judgment contends are material shall be numbered and placed at the end
          of the opposing party’s statement of material facts; the movant shall use that numbering
          scheme if those additional facts are addressed in the reply.

          Local Rule 7.5(C)(3).




                                                     App-7
Case 1:08-cv-22278-ASG Document 6 Entered on FLSD Docket 09/22/2008 Page 11 of 11




                                  DISCOVERY PROCEDURE FOR
                               MAGISTRATE JUDGE CHRIS McALILEY

          MEET AND CONFER

           Counsel must actually confer and engage in reasonable compromise in a genuine effort to resolve
  their discovery disputes before noticing the dispute for the discovery calendar. The Court may impose
  sanctions, monetary or otherwise, if it determines discovery is being improperly sought or is being withheld
  in bad faith.

          DISCOVERY CALENDAR

          If, after conferring, the parties are unable to resolve their discovery dispute without Court
  intervention, they shall not file written motions. The moving party shall contact the chambers of
  Magistrate Judge Chris McAliley at (305) 523-5890 and place the matter on the next available discovery
  calendar. Judge McAliley holds a regular discovery calendar every Wednesday, from 10:00 a.m. to 11:30
  a.m. in Courtroom VII, United States Courthouse, 300 N.E. First Avenue. The movant shall contact
  chambers no later than noon on the Friday preceding the discovery calendar, and shall do so ONLY after
  conferring with opposing counsel and confirming his or her availability for the discovery calendar.

          NOTICE OF HEARING

           On the same day that the matter is placed on the discovery calendar, the movant shall file with the
  Court and serve on opposing counsel a Notice of Hearing. The Notice of Hearing shall briefly specify the
  substance of the discovery matter to be heard and the amount of time counsel believes will be needed to
  resolve the discovery disputes. The movant shall include in its Notice of Hearing a certificate of good faith
  that complies with S.D. Fla. L. R. 7.1 (A)(3). Failure to timely file a Notice of Hearing will result in the
  matter being removed from the discovery calendar.

           No later than noon on the Monday preceding the discovery calendar, the parties may prepare a Notice
  of Filing and file with the Court and serve on opposing counsel a copy of any source materials relevant to
  the discovery dispute. (For example, if the dispute concerns interrogatories, the interrogatories at issue and
  the responses thereto shall be filed, with some indication of which interrogatories remain in dispute. As
  another example, correspondence exchanged by counsel as part of the meet-and-confer process, that narrows
  the discovery disputes and identifies those remaining, may be attached as source materials.) Counsel shall
  also deliver a courtesy copy of source materials to Judge McAliley’s chambers by the same deadline.

          NO WRITTEN DISCOVERY MOTIONS

          No written discovery motions, including motions to compel, for protective order, or related motions
  for sanctions shall be filed unless the Court so directs at the discovery calendar. Other than the filing of
  motions, these procedures do not relieve parties from the requirements of any Federal Rule of Civil
  Procedure or Local Rule.




                                                     App-8
